                                 Case: 1:20-cv-01083 Document #: 2 Filed: 02/13/20 Page 1 of 2 PageID #:16
ILND 44 (Rev. 09/07/18)                                                        CIVIL COVER SHEET
The ILND 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose
of initiating the civil docket sheet. (See instructions on next page of this form.)
I. (a) PLAINTIFFS                                                                                                         DEFENDANTS
    Gloria Carter                                                                                                         City of Chicago, an Illinois Municipal Corporation


   (b) County of Residence of First Listed Plaintiff COOK                                                                 County of Residence of First Listed Defendant                          COOK
                                        (Except in U.S. plaintiff cases)                                                  (In U.S. plaintiff cases only)
                                                                                                                          Note: In land condemnation cases, use the location of the tract of land involved.

   (c) Attorneys (firm name, address, and telephone number)                                                                Attorneys (if known)
    See Attached.



II. BASIS OF JURISDICTION (Check one box, only.)                                                      III. CITIZENSHIP OF PRINCIPAL PARTIES (For Diversity Cases Only.)
                                                                                                                 (Check one box, only for plaintiff and one box for defendant.)
   1     U.S. Government                  3 Federal Question                                                                                      PTF        DEF                                                      PTF         DEF
           Plaintiff                          (U.S. Government not a party)                                      Citizen of This State                  1         1 Incorporated or Principal Place                         4       4
                                                                                                                                                                       of Business in This State

   2     U.S. Government                  4 Diversity                                                            Citizen of Another State                  2           2    Incorporated and Principal Place                5        5
           Defendant                         (Indicate citizenship of parties in Item III.)                                                                                 of Business in Another State

                                                                                                                 Citizen or Subject of a                   3           3    Foreign Nation                                  6        6
                                                                                                                   Foreign Country
IV. NATURE OF SUIT (Check one box, only.)
            CONTRACT                                                 TORTS                                            PRISONER PETITIONS                                   LABOR                         OTHER STATUTES
   110 Insurance                          PERSONAL INJURY                    PERSONAL INJURY                         510 Motions to Vacate Sentence            710 Fair Labor Standards Act            375 False Claims Act
   120 Marine                              310 Airplane                       530 General                            530 General                               720 Labor/Management Relations          376 Qui Tam (31 USC 3729 (a))
   130 Miller Act                          315 Airplane Product               367 Health Care/                       535 Death Penalty                         740 Railway Labor Act                   400 State Reapportionment
   140 Negotiable Instrument                    Liability                         Pharmaceutical                     $%&'%+ #(*),+"                            751 Family and Medical                  410 Antitrust
   150 Recovery of Overpayment             320 Assault, Libel & Slander           Personal Injury                    540 Mandamus & Other                          Leave Act                           430 Banks and Banking
       & Enforcement of Judgment           330 Federal Employers’                 Product Liability                  550 Civil Rights                          790 Other Labor Litigation              450 Commerce
   151 Medicare Act                            Liability                      368 Asbestos Personal Injury           555 Prison Condition                      791 Employee Retirement                 460 Deportation
   152 Recovery of Defaulted Student       340 Marine                              Product Liability                 560 Civil Detainee – Conditions               Income Security Act                 470 Racketeer Influenced and
       Loans (Excludes Veterans)           345 Marine Product Liability                                              of Confinement                                                                        Corrupt Organizations
   153 Recovery of Veteran’s Benefits      350 Motor Vehicle                                                                                                                                           480 Consumer Credit
   160 Stockholders’ Suits                  355 Motor Vehicle                PERSONAL PROPERTY                                                                  PROPERTY RIGHTS                        485 Telephone Consumer
   190 Other Contract                           Product Liability             370 Other Fraud                                                                  820 Copyrights                              Protection Act (TCPA)
   195 Contract Product Liability           360 Other Personal Injury         371 Truth in Lending                                                             830 Patent                              490 Cable/Sat TV
   196 Franchise                            362 Personal Injury -             380 Other Personal                                                               835 Patent – Abbreviated                850 Securities/Commodities/
                                                Medical Malpractice               Property Damage                                                                  New Drug Application                    Exchange
                                                                              385 Property Damage                                                              840 Trademark                           890 Other Statutory Actions
                                                                                  Product Liability                                                                                                    891 Agricultural Acts
                                                                                                                                                                                                       893 Environmental Matters
         REAL PROPERTY                        CIVIL RIGHTS                      BANKRUPTCY                           FORFEITURE/PENALTY                          SOCIAL SECURITY                       895 Freedom of Information Act
   210 Land Condemnation                    440 Other Civil Rights            422 Appeal 28 USC 158                  625 Drug Related Seizure                  861 HIA (1395ff)                        896 Arbitration
   220 Foreclosure                          441 Voting                        423 Withdrawal 28 USC 157                  of Property 21 USC 881                862 Black Lung (923)                    899 Administrative Procedure
   230 Rent Lease & Ejectment               442 Employment                                                           690 Other                                 863 DIWC/DIWW (405(g))                      Act/Review or Appeal of
   240 Torts to Land                        443 Housing/                                                                                                       864 SSID Title XVI                          Agency Decision
   245 Tort Product Liability                   Accommodations                 IMMIGRATION                                                                     865 RSI (405(g))                        950 Constitutionality of
   290 All Other Real Property              445 Amer. w/Disabilities -        462 Naturalization                                                                                                           State Statutes
                                                Employment                        Application
                                            446 Amer. w/Disabilities -        463 Habeas Corpus - Alien                                                           FEDERAL TAXES
                                                Other                             Detainee (Prisoner Petition)                                                 870 Taxes (U.S. Plaintiff
                                            448 Education                     465 Other Immigration                                                            or Defendant)
                                                                                  Actions                                                                      871 IRS—Third Party
                                                                                                                                                                    26 USC 7609

V. ORIGIN (Check one box, only.)
       1 Original                2 Removed from                3     Remanded from                         4 Reinstated or                   5     Transferred from               6    Multidistrict        8    Multidistrict
         Proceeding                State Court                       Appellate Court                         Reopened                              Another District                    Litigation                Litigation
                                                                                                                                                   (specify)                                                     Direct File
VI. CAUSE OF ACTION (Enter U.S. Civil Statute under which you are filing and                                 VII. PREVIOUS BANKRUPTCY MATTERS (For nature of suit 422 and 423, enter the
write a brief statement of cause.)                                                                           case number and judge for any associated bankruptcy matter previously adjudicated by a judge of this Court.
                                                                                                             Use a separate attachment if necessary.)
See attached.
VIII. REQUESTED IN                                        Check if this is a class action Under rule 23, Demand $                                                     Check Yes only if demanded in complaint.
      COMPLAINT:                                          F.R.CV.P.                                                                                                   Jury Demand:           Yes      No
IX. RELATED CASE(S)                     (See instructions)
     IF ANY                                                   Judge                                                                                    Case Number
X. Is this a previously dismissed or remanded case?                                 Yes                No        If yes, Case #                   Name of Judge
Date                                                          Signature of attorney of record
 02/13/2020                                                    /s/ Robert N. Hermes
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                             ATTACHMENT TO CIVIL COVER SHEET

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VI.         CAUSE OF ACTION (Enter U.S. Civil Statute under which you are filing and write a
            brief statement of cause).

            Title II of the Americans with Disabilities Act of 1990, 42 U.S.C. §§ 12101 et seq. and
            Section 504 of the Rehabilitation Act of 1973 as amended, 29 U.S.C. §791 et seq.
            Plaintiff seeks a declaration that the defendant illegally discriminated against her because
            of her disability and to enjoin defendant’s prohibited conduct by ordering defendant to
            make its homeless shelter program accessible.

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